al MMe ueT one iret talet aval tg\oMer: x-e

United States Bankruptcy Court for the:

(west LW _ district of UMA i |

(State)
Case number (/f known): Chapter l [

L) Check if this is an
| amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name Marth westEounda-Ti'an for a Coursey MIRACIES

2. All other names debtor used MO ME
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer g lL _ -—
Identification Number (EIN) =~ —— 12 22415
4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
374! ; E Po Box woe
Number Street Number Street
149 5
P.O. Box
Hawsville Wh 98340 = kibostev —_ wa PRS
City State ZIP Code City] State ZIP Code
Location of principal assets, if different from
1 principal place of business
Kits p Ceunk,
Count’
my l _ Number Street
City State ZIP Code
5. Debtor’s website (URL) WULULNWEEACIN., ora
aS
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Debtor V GR TH as Ee ss E Ou NV adi 6h yor q Case number (known)
COUMSE IN MikAC/IES.
6. Type of debtor g Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
) Partnership (excluding LLP)
C) Other. Specify:

A. Check one:

7. Describe debtor’s business
CJ Heaith Care Business (as defined in 11 U.S.C. § 101(27A))

Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Railroad (as defined in 11 U.S.C. § 101(44))

Q) Stockbroker (as defined in 11 U.S.C. § 101(53A))

QO Commodity Broker (as defined in 11 U.S.C. § 101(6))

L) Clearing Bank (as defined in 11 U.S.C. § 781(3))

& None of the above

B. Check all that apply:

Of Tax-exempt entity (as described in 26 U.S.C. § 501)

CJ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

UO Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htto://www.uscourts.gov/four-digit-national-association-naics-codes .

§lZBe

8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? CI Chapter 7
C) Chapter 9

& Chapter 11. Check all that apply:

Oh Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
4/01/25 and every 3 years after that).

C] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

C)The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
chooses to proceed under Subchapter V of Chapter 11.

LJ A plan is being filed with this petition.

C) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 17 (Official Form 201A) with this form.

CL) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

O Chapter 12 / T- a1 2005

9. Were prior bankruptcy cases ([] No pr
-l\

filed by or against the debtor
saithinr the nee 8 years? Biyes. district AJ ES TERY WA When PSF32. Case number

MM/ DD/YYYY

If more than 2 cases, attach a

separate list. District When Case number

MM/ DD/YYYY

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Debtor V ORTH wesl Co yn DATIOon for fe Case number (itknown)
See OB NSE IviMFRAClesj  s—SS

10. Are any bankruptcy cases Kf No
pending or being filed by a
business partner oran C) Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 1,
attach a separate list. Case number, if known

11. Why is the case filed in this | Check ail that apply:

district?
w Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

ee - QA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have yw No

possession of any real Cl Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
property or personal property

that needs immediate Why does the property need immediate attention? (Check all that apply.)

attention?

C} it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

(J It needs to be physically secured or protected from the weather.

CY It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

CY Other

Where is the property?

Number Street

City State ZIP Code

Is the property insured?

LJ No

C) Yes. insurance agency

Contact name

Phone
FR s:2tstica and administrative information
13. Debtor’s estimation of Check one:
available funds Q) Funds will be available for distribution to unsecured creditors.

ql After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

@ 1-49 Q) 4,000-5,000 Q 25,001-50,000
14. Estimated number of QO 50-99 Q 5,001-10,000 Q) 50,001-100,000
creditors OQ) 100-199 Q) 10,001-25,000 Q) More than 100,000
CI 200-999
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Debtor j UDRTH WEST Eeuncl ATION a Case number (known)

Conse re Di\cpecles

9s, Estimated aacete C) $0-$50,000 x $1,000,001-$10 million CU) $500,000,001-$1 billion
: CJ $50,001-$100,000 UO) $10,000,001-$50 million C) $1,000,000,001-$10 billion
QI $100,001-$500,000 CJ $50,000,001-$100 million LJ $10,000,000,001-$50 billion
C} $500,001-$1 million CI $100,000,001-$500 million CJ More than $50 billion
oe C) $0-$50,000 Q) $1,000,001-$10 million CJ $500,000,001-$1 billion
16. Estimated liabilities ©) $50,001-$100,000 OQ $10,000,001-$50 million Q) $1,000,000,001-$10 billion
CL) $100,001-$500,000 QO) $50,000,001-$100 million CJ $10,000,000,001-$50 billion
$500,001-$1 million LI $100,000,001-$500 million C) More than $50 billion

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

authorized representative of

debtor petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

Po Og. J-20ag.

Poul wtodte.

Signature of authorized representative of debtor

Title Eueutin, Dree la.

Printed name

18. Signature of attorney x

Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code

Contact phone

Email address

Bar number

State

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